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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                    )
IN RE: PHILIPS RECALLED CPAP, BI-   )   Master Docket: No. 21-MC-001230-JFC
LEVEL PAP, AND MECHANICAL           )
VENTILATOR PRODUCTS LIABILITY       )   MDL No. 3014
LITIGATION                          )
                                    )
This Document Relates to:           )
                                    )
All Personal Injury Cases           )
                                    )




      THE PHILIPS DEFENDANTS’ RESPONSE TO SOCLEAN AND DWHP’S
     OBJECTIONS TO THE SPECIAL DISCOVERY MASTER’S REPORT AND
    RECOMMENDATION ON THE MOTION TO ENTER PRETRIAL ORDER #31
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  Authorized (Feb. 27, 2020), https://www.fda.gov/news-events/press-
  announcements/fda-reminds-patients-devices-claiming-clean-disinfect-or-
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                                PRELIMINARY STATEMENT

               To this day, SoClean, Inc. (“SoClean”) and DWHP Management Services, LLC

(“DWHP”) have pointed to no authority that prevents this Court from entering the proposed

pretrial order 31 (“PTO #31”), precisely because there is none. The Special Master correctly

recognized that PTO #31 is consistent with both this Court’s legal authority and “with the Court’s

overall objective to keep these cases moving.” (ECF No. 2708 (“R&R”) at 2.) The Special

Master’s Report and Recommendation recognizes the goal of efficiency in the conduct of a

multidistrict litigation (id. at 1 n.1, 2-3), which is hardly novel as the “effectiveness of [judicial

management] depends on the design and implementation of flexible and creative plans that take

into account the specific needs of particular litigation.” Manual for Complex Litigation (Fourth)

§ 12 (2004). PTO #31 is a simple and efficient procedural tool that will streamline these

proceedings and takes into account the specific needs of this complex litigation, which here

involves two separate but related multidistrict litigation (“MDL”) dockets. (ECF No. 2703

(“Philips Resp.”) at 2-3.)

               Of course, the Philips Defendants could file 94 individual third-party complaints

against SoClean and DWHP, increasing the workload of this Court and the Special Masters

assisting the Court. But doing so would flip the purpose of this MDL on its head, and both this

MDL and the SoClean MDL were created to avoid the delay and inefficiency that would come

with pleading every one of the cases pending before this Court individually. This Court insisted

upon consolidated complaints for the economic loss claims and the medical monitoring claims,

citing reasons of efficiency, and endorsed the Master Personal Injury Complaint to allow Plaintiffs’

personal injury claims to be addressed efficiently. (See Dec. 15, 2021 CMC Tr., MDL 3014 at

24:17-18 (“THE COURT: We can get to some consolidated complaints for the various categories,

that would be helpful.”); ECF No. 573 at 1 (Pre-Trial Order #14 (“setting forth an orderly and
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efficient process for filing consolidated amended class and master complaints, answers, motions

to dismiss, and briefing related thereto.”).) Whether they approve or not, SoClean and DWHP will

be parties to the personal injury cases pursued by SoClean users in this litigation. The only

question is whether they will be joined now, allowing this case to move forward smoothly and

expeditiously, or whether they will succeed in delaying this case further, disrupting the case

schedule as a result of their inevitable duty to participate in discovery. The law not only permits

but encourages this Court to allow the Philips Defendants to join SoClean and DWHP now to

avoid further delays and inefficiencies.

               To be clear, SoClean and DWHP have but one goal: avoiding the consequences of

their conduct by creating further delay and imposing ever increasing costs on the Philips

Defendants to enforce their rights. Since January 2024, when the Philips Defendants first raised

the entry of a master third-party complaint with SoClean and DWHP, SoClean and DWHP have

thrown up every imaginable roadblock, each of which has been rejected.1

               The latest effort at delay and obstruction is the pure speculation by SoClean and

DWHP that the forthcoming master third-party complaint will somehow violate Rule 11 of the

Federal Rules of Civil Procedure. There is no basis for this assertion, and it is wildly premature,

especially considering that SoClean and DWHP have never seen the master third party complaint.

SoClean and DWHP’s aversion to an efficient method for the Philips Defendants to assert claims

against them is not a basis for making their inevitable participation as inefficient as possible.



1
        In keeping with their efforts to raise anything, SoClean and DWHP even suggest vaguely
that some procedural failing bars entry of PTO #31 because the motion was a “single sentence and
provide[d] no legal or factual bases for the Court to enter PTO #31.” (ECF No. 2728 (“Obj.”) at
1.) It is unclear what critical point was missing from the motion or the accompanying papers that
bars entry of PTO #31, and SoClean and DWHP did not raise this supposed deficiency with the
Special Master.

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                                           ARGUMENT

I.     PTO #31 Is Fully Authorized by the Federal Rules and Would Provide an Efficient
       Method to Address the Third Party Claims against SoClean and DWHP.

               After three months of hunting, SoClean and DWHP still cannot identify any

authority indicating that this Court does not have the power to permit the Philips Defendants to

file a master third-party complaint at this time. This is because no such rule exists. To the contrary,

the Federal Rules encourage the early impleader of third parties and the use of consolidated

proceedings to streamline complex proceedings.

       A.      SoClean and DWHP Still Fail to Identify Any Rule Requiring the Philips
               Defendants to Wait to File.

               The Philips Defendants’ prior brief (see Philips Resp. at 9-11) explained that Rule

14 of the Federal Rules of Civil Procedure “encourages defendant[s] to implead the third party as

soon as possible.” 6 Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ. § 1443 (3d

ed. 2023). Rule 14 has no language requiring a defendant to wait to file a third-party complaint

until it has answered or underlying motions to dismiss have been resolved. Instead, Rule 14

provides that “[a] defending party may, as third-party plaintiff, serve a summons and complaint on

a nonparty who is or may be liable to it for all or part of the claim against it.” Fed. R. Civ. P.

14(a)(1). Only if the “third-party plaintiff . . . files the third-party complaint more than 14 days

after serving its original answer” must a third-party plaintiff “obtain the court’s leave” by motion.

Id. Whether a third-party complaint is filed before the answer, or within the 14-day window that

Rule 14(a) provides, makes no difference.

               The only case SoClean and DWHP cite, Cohen v. Ohio Casualty Group, does not

stand for the legal proposition that SoClean and DWHP assert. See generally Cohen, 2009 WL

10728666 (W.D. Pa. Jan. 6, 2009). As the Special Master observed, “[g]iven that [the Philips]



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Defendants have not yet filed an answer, Rule 14 allows them to file a third-party complaint now

without leave of court.” (R&R at 2.) That is precisely what the court in Cohen observed.2

               Contrary to SoClean and DWHP’s claims, the Philips Defendants provided ample

support that a court (especially in an MDL) has the authority to allow a defendant to file a third-

party complaint before its answer. (See Philips Resp. at 6-11.) Even with the benefit of the Special

Master’s Report and Recommendation, SoClean and DWHP ignore that In re East Palestine serves

as a prime example of defendants filing their third-party complaint before their answer. Compare

In re East Palestine Train Derailment, No. 23-cv-242, ECF No. 119 (N.D. Ohio July 25, 2023)

with ECF No. 112 (third-party complaint filed while motions to dismiss pending); R&R at 2 (citing

In re East Palestine). Moreover, in Graham v. A.T.S. Specialized, the court clearly stated that

nothing prevents the filing of a third-party complaint before an answer:

       The Court, however, does not read the rule’s language to require that an answer
       must be filed in order for a defendant to bring a motion requesting permission to
       file a third-party complaint once its pending motion to dismiss is ruled upon. The
       only effect the filing of an answer has on the third-party complaint is whether or
       not leave is necessary.

Graham, 2007 WL 1302544, at *2 (S.D.W. Va. May 2, 2007).3 SoClean and DWHP offer no

authority to the contrary.

       B.      Master Third-Party Complaints May be Filed Before Individual Complaints.

               The Special Master rejected SoClean and DWHP’s argument that the Court lacks

the power to permit the Philips Defendants to use a master pleading instead of filing 94 individual


2
         In Cohen, the court noted that, because the defendant had not yet filed its answer, it was
“not yet required to seek leave to file a third party complaint” and thus denied the defendant’s
motion for leave as premature. Cohen, 2009 WL 1072866 at *1. The court did not determine that
filing a third-party complaint before an answer is premature, as SoClean and DWHP suggest. (Obj.
at 13.)
3
       The scheduling order that SoClean and DWHP reference was irrelevant to the court’s
general observation. Compare Graham, 2007 WL 1302544, at *2 with Opp. at 13.

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complaints first. (R&R at 2.) Instead of rebutting the point, SoClean and DWHP nitpick at the

cases cited by the Philips Defendants. (See Obj. at 8-11.) But those criticisms relate to whether

the parties in those cases filed individual complaints before filing master pleadings, disregarding

that the Philips Defendants cited these cases in response to SoClean and DWHP’s original

argument that third-party complaints cannot be filed until after the defendant answers and

underlying motions to dismiss are resolved. (See Philips Resp. at 6-8.) And SoClean and DWHP

ignore completely In re Methyl Tertiary Butyl Ether (“MTBE”) Products Liability Litigation, No.

00-cv-1898 (S.D.N.Y.), cited in the Philips Defendants’ prior brief, in which numerous defendant

groups relied on master pleadings to bring claims against third parties—who, in many instances,

were not even specifically identified but rather referred to as “John and Jane Does Nos. 1-500.”

See, e.g., id., ECF Nos. 2742, 2743, 2747, 3266, 3427, 3874, 3877.

               In any event, master third-party complaints have frequently been filed without first

filing individual complaints in each action to which they apply, and courts have not dismissed

them on that basis.4 This is unsurprising because, as explained below, courts have broad latitude

to use consolidated pleadings to manage complex cases like these.



4
         See, e.g., Third Party Complaint & Jury Demand, In re Customs & Tax Admin. of Kingdom
of Denmark (SKAT) Tax Refund Litig., 18-md-2865 (S.D.N.Y.), ECF No. 527 (third-party
complaints filed in seven cases via one pleading); Third-Party Complaint, In re Nat’l Prescription
Opiate Litig., 17-md-2804 (N.D. Ohio), ECF No. 837 (third-party complaint filed in “[a]ll cases”);
Syngenta’s Third-Party Complaint, In re Syngenta AG MIR 162 Corn Litig., 14-md-2591 (D.
Kan.), ECF No. 1225 (third-party complaint filed in “all cases conforming to the producer
plaintiffs’ amended class action master complaint”); BP Parties’ Counter-Complaint, Cross-
Complaint & Third Party Complaint Against Transocean & Claim in Limitation, In re Oil Spill by
the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, No. 10-md-2179 (E.D.
La.) (filing complaint relating to “All Cases” without first filing complaints in individual cases);
Master Complaint, Cross-Claim, & Third-Party Complaint for Private Economic Losses in
Accordance With PTO No. 11 [CMO No. 1] Section III(B1) [“B1 Bundle”], In re Oil Spill, No.
10-md-2179 (E.D. La.), ECF No. 879 (third-party complaint in “All Cases in Pleading Bundle
B1”); Amended Third Party Complaint, In re WellNx Mktg. & Sales Pracs. Litig., No. 07-md-1861
(D. Mass.), ECF No. 98 (third-party claims asserted in multiple MDL cases in a single pleading).
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II.    Practical Considerations Warrant Entering PTO #31 Now.

               Pushing their agenda of delay and inefficiency, SoClean and DWHP argue that the

forthcoming master third-party complaint would be “premature” until the Court resolves the issues

of alter ego personal jurisdiction over DWHP and the pending motions to dismiss the Second

Amended Master Personal Injury Complaint. (Obj. at 12-13.) Even then, according to SoClean

and DWHP, the Philips Defendants should not be permitted to file the master third-party complaint

until the Philips Defendants file their answers. (Id. at 12-13.) These arguments are untenable,

impractical, and not required under the law. Whether or not it is “‘no small task’ for a small

business like SoClean to respond” (id. at 5 n.7)—a task that would be considerably larger if

SoClean and DWHP were forced to respond to 94 individual complaints instead of a single, master

third-party complaint—that is no justification for disrupting the Court’s well-ordered discovery

process. The discovery in this case to-date, along with the Philips Defendants’ independent testing,

yielded the evidence that is now the basis for the Philips Defendants’ contribution claims—

evidence that SoClean’s devices cause foam to degrade and emit various chemical compounds,

and that SoClean knew it all along. PTO #31 is the most efficient way to ensure SoClean

contributes in accordance with its responsibility for the damage and harm its devices have caused.

SoClean and DWHP’s efforts at further delay and massive inefficiency should be rejected.

               First, SoClean and DWHP argue that PTO #31 should be deferred until the Court

determines whether it has personal jurisdiction over DWHP. (Id. at 12.) This argument ignores




No subsequent decision dismissing such complaints cited the single-pleading nature of the third-
party complaints as a basis for dismissal. See, e.g., Customs, 2021 WL 4993536, at *1 (S.D.N.Y.
Oct. 26, 2021) (dismissal for lack of personal jurisdiction); Nat’l Prescription Opiate, 2018 WL
7365088, at *1 (N.D. Ohio Dec. 17, 2018) (lack of subject-matter jurisdiction); Syngenta, 2016
WL 1312519, at *1 (D. Kan. Apr. 4, 2016) (lack of personal jurisdiction and preemption).

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the reality that there is an approaching discovery deadline in this case, and that waiting for

resolution of the personal jurisdiction issue will make it virtually impossible to meet that deadline.5

               Second, although the fact discovery cutoff date was extended to September 30, it is

still necessary to involve SoClean and DWHP in this litigation now. If SoClean and DWHP do

not join this case now, it significantly increases the likelihood that there will be even more delay

further down the road, which this Court has consistently urged against. (See, e.g., Nov. 9, 2023

CMC Tr., MDL 3014, at 10.) Rule 1 of the Federal Rules of Civil Procedure provides that the

rules should be construed “to secure the just, speedy, and inexpensive determination of every

action and proceeding.” Fed R. Civ. P. 1; see also 6 Charles Alan Wright & Arthur R. Miller, Fed.

Prac. & Proc. Civ. § 1443 (3d ed. 2023); R&R at 2-3.

               This Court has “broad discretion to administer the proceeding as a whole.” In re

Phenylpropanolamine (PPA) Prods. Liab. Litig., 460 F.3d 1217, 1232 (9th Cir. 2006); see also In

re Asbestos Prods. Liab. Litig. (No. VI), 718 F.3d 236, 243 (3d Cir. 2013) (“[D]istrict judges must

have authority to manage their dockets, especially during [a] massive litigation.”) (quotations

omitted) (alteration in original). In exercising that discretion, “judges are encouraged to be

innovative and creative to meet the needs of their cases.” Manual for Complex Litigation (Fourth),




5
       As the Philips Defendants brought to this Court’s attention at the April 11 hearing, and will
discuss further at the April 25 case management conference, the Philips Defendants are “not at all
confident that [the] date [for the May 13 evidentiary hearing] will be able to stick” given that
DWHP, until last night, had produced only 13 pages of documents thus far (they produced 190
pages last night) and the parties have therefore not taken a single deposition of SoClean or DWHP
personnel. (Apr. 11, 2024 Oral Arg Tr., MDL 3021 at 88:16-24.) In fact, SoClean and DWHP
acknowledged that the hearing date may have to be moved. (Id. at 89:2-7.) SoClean and DWHP’s
argument that PTO #31 should be tethered to the resolution of those personal jurisdiction issues
does violence to the principle that defendants should “implead the third party as soon as possible.”
6 Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ. § 1443 (3d ed. 2023); see also
R&R at 2-3.

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Introduction (2004). The needs of this case require that SoClean and DWHP join now.6 And Rule

14 is “liberally construed to accomplish its intended aim of accomplishing in one proceeding the

adjudication of the rights of all persons concerned in the controversy and to prevent the necessity

of trying several related claims in different lawsuits.” Monarch Life Ins. v. Donahue, 702 F. Supp.

1195, 1197 (E.D. Pa. 1989) (internal citations and quotations omitted); see also Levitt v. Bear,

Stearns & Co., 2008 WL 11456229, at *2 (E.D.N.Y. Nov. 18, 2008) (denying motion to strike

third-party complaint where “[i]t is improbable that the third-party complaint will cause delay

because the parties are currently conducting discovery[,] . . . no trial date has been set[,]” and the

third-party defendant “ha[d] been a named defendant in related litigations” for years, so “it would

be more efficient to try the contribution claim along with the merits”). Just as the Court has

consolidated the underlying proceedings in this MDL to make manageable an otherwise unwieldy

case, it should consolidate the third-party complaint process using PTO #31 as recommended by

the Special Master.

III.   The Philips Defendants Plainly Satisfy Rule 11.

               Pivoting from their initial stance that PTO #31 was procedurally improper, SoClean

and DWHP now argue that the forthcoming master third-party complaint might violate Rule 11 of

the Federal Rules of Civil Procedure. Not only are those arguments speculative and premature—

they are baseless.7 It is difficult to comprehend how SoClean and DWHP can even raise this at


6
        SoClean and DWHP argue that the statute of limitations tolling provision in PTO #31
should not be adopted. (Obj. at 12.) Just as the Philips Defendants compromised with SoClean
and DWHP regarding the stay provisions that they took issue with (Philips Resp. at 13), the Philips
Defendants are again willing to compromise and strike the statute of limitations tolling provision
as well, as it is unnecessary as a matter of law.
7
       SoClean and DWHP acknowledge that this argument is entirely premature, admitting that
“Rule 11 issues normally arise after a party has filed a deficient pleading.” (Obj. at 6 (emphasis
added); see also id. at 5 (“Rule 11 applies ‘at the time the pleading [is] submitted.’”) (quoting
Gaiardo v. Ethyl, 835 F.2d 479, 484 (3d Cir. 1987)).)

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all, let alone now, without a pleading on file. Rule 11 requires that counsel conduct a “reasonable

investigation of the facts and a normally competent level of legal research.” Lieb v. Topstone

Indus., 788 F.2d 151, 157 (3d Cir. 1986). “To be reasonable, the prefiling factual investigation

must uncover some information to support the allegations in the complaint.” Keister v. PPL, 318

F.R.D. 247, 262 (M.D. Pa. 2015) (quotations omitted) (emphasis added). SoClean and DWHP

should take note, however, that the Third Circuit has emphasized that even “when issues are close,

the invocation of Rule 11 borders on the abusive” and “‘Rule 11 is not to be used routinely when

the parties disagree about the correct resolution of a matter in litigation.’” Gaiardo, 835 F.2d at

483 (quoting Morristown Daily Rec. v. Graphic Commc’ns Union Local 8N, 832 F.2d 31, 32 n.1

(3d Cir. 1987)).

       A.      The Philips Defendants’ Factual Investigation Supports that SoClean and
               DWHP Are Liable for Contribution.

               SoClean and DWHP’s premature Rule 11 objection to a consolidated third-party

complaint that has yet to be filed is illogical and peculiar. SoClean and DWHP are not contesting

whether the Philips Defendants can seek contribution for MDL plaintiffs who used SoClean

devices and are subject to the laws of states that permit contribution claims. Instead, SoClean and

DWHP contest whether the Philips Defendants’ contribution claims can be made through a

consolidated, master third-party complaint. This makes no sense. Until filed, SoClean and DWHP

have no basis to argue that the master third-party complaint will violate Rule 11 by being

consolidated in one pleading.8




8
       What’s more, even if SoClean and DWHP were to ultimately claim that the Philips
Defendants have not complied with their Rule 11 obligations, the Philips Defendants would still
have 21 days to correct such errors—entirely consistent with PTO #31.

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               Worse still, there is no basis to reject PTO #31 upon SoClean and DWHP’s

groundless pretension that the forthcoming master third-party complaint will not be factually

grounded. The master third-party complaint will of course provide specific facts giving rise to

contribution claims (some of which are described below). For instance, the Philips Defendants

have investigated and identified the states that permit contribution and have tailored their claims

accordingly. Further, the Philips Defendants have investigated which MDL plaintiffs used

SoClean’s product and claim to have experienced injury from polyester-based polyurethane (“PE-

PUR”) foam degradation and/or the emission of compounds associated with that degradation that

gave rise to this litigation. (See Philips Resp. at 1-2.) Because the evidence shows SoClean’s

devices not only, on their own, cause harm to individuals (a point recognized by the United States

Food and Drug Administration9), but they also exacerbate foam degradation and emissions (a fact

neither SoClean nor DWHP have or could contest). Thus, to the extent a Personal Injury Plaintiff

seeks to hold the Philips Defendants liable for claimed injuries in the MDL, and to the extent

permitted by state law, it is both appropriate and legally permissible for the Philips Defendants to

seek contribution.

               The Philips Defendants previously outlined just some of the evidence

demonstrating that SoClean’s illegally marketed ozone cleaning devices were a significant cause

of the PE-PUR foam degradation and the emission of compounds associated with that degradation

that give rise to this litigation. (See Philips Resp. at 1-2.)10 Based on these facts, it is plainly


9
        See FDA, FDA Reminds Patients that Devices Claiming to Clean, Disinfect or Sanitize
CPAP Machines Using Ozone Gas or UV Light Have Not Been FDA Authorized (Feb. 27, 2020),
https://www.fda.gov/news-events/press-announcements/fda-reminds-patients-devices-claiming-
clean-disinfect-or-sanitize-cpap-machines-using-ozone-gas-or.
10
       Specifically, controlled laboratory testing found that, after 1,300 cycles of CPAP use,
machines cleaned with ozone emitted 250 micrograms of diethylene glycol (a known byproduct
of foam degradation) per cubic meter. Emissions of diethylene glycol for all other Recalled
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plausible that, for each Personal Injury Plaintiff who is a reported user of a SoClean device, ozone

was a cause of degradation and emission of those related compounds. SoClean and DWHP are

well aware of these facts. Correspondingly, at no point in their briefing here have they disputed

that SoClean’s devices cause foam degradation and the emission of compounds associated with

such degradation.

       B.      Pending Choice of Law Questions at the Time of Filing Do Not Violate Rule 11.

               Next, SoClean and DWHP contend that to comply with Rule 11, the relevant choice

of law questions must be resolved before filing any complaint. (Obj. at 4-5.) No such rule exists.

Rule 11 only requires that an attorney certify that there is a “reasonable basis in fact and law for

the claims,” insofar as to discourage the “filing of frivolous, unsupported, or unreasonable

lawsuits.” Soo San Choi v. D’Appolonia, 252 F.R.D. 266, 271 (W.D. Pa. 2008) (citing Napier v.

Thirty or More Unidentified Fed. Agents, 855 F.2d 1080, 1090 (3d Cir. 1988)). As this Court is

aware, a contribution claim exists when a “third party is secondarily liable to the defending party.”

6 Charles Alan Wright and Arthur R. Miller, Fed. Prac. & Proc. Civ. § 1446 (3d ed. 2023). Here,

the Philips Defendants’ investigation and the forthcoming master third-party complaint

demonstrate that SoClean and DWHP are liable to the Philips Defendants because ozone was

undeniably a cause of the alleged underlying injuries at issue. That is, there is a clear legal basis

under Rule 11 to file a contribution claim against SoClean and DWHP. Of course, the Philips

Defendants are well aware that “a party’s substantive right[] to contribution . . . [is] determined by




Devices either do not exist or were too low to quantify. In addition, in the United States, as of
January 2024, visual inspections of returned Respironics field devices established that 8.9 percent
of reported users of ozone cleaners saw significant foam degradation. By contrast, only 0.5 percent
of non-ozone users saw degradation. Even worse, the Philips Defendants have previously cited
evidence in their Counterclaims demonstrating that SoClean executives knew that ozone degrades
polyurethane foam.

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state law.” EQT Prod. v. Terra Servs., 179 F.Supp.3d 486, 493 (W.D. Pa. 2016) (citation omitted).

To that effect, the Philips Defendants acknowledge that certain states do not provide a right to

contribution, and they have addressed their claims accordingly. That does not mean, however, that

the master third-party complaint, when filed, will violate Rule 11.

               Contribution claims are governed by “the law of the jurisdiction which governs the

underlying claim.” Rodin Props.-Shore Mall v. Cushman & Wakefield of Pa., 49 F. Supp. 2d 728,

739 (D.N.J. 1999) (citing Restatement (Second) of Conflicts of Laws § 173 (Am. L. Inst. 1969));

see also Werner Enters. v. Trs. of Univ. of Pittsburgh, 2006 WL 2583458, at *4 (W.D. Pa. Sept.

6, 2006) (Conti, J.) (noting that “the law of the jurisdiction governing the underlying claim

normally will govern whether contribution can be obtained”); Philips Resp. at 4, 12-13. The

Philips Defendants do not “put[] the onus on the Court to figure out whether [they] ha[ve] a viable

contribution claim under state law.” (Obj. at 2.) The Philips Defendants have already done that

work and the proposed master third-party complaint will reflect it.

               The potential for choice-of-law disputes, a possibility in all litigation, is not a basis

to reject the efficient process set forth in PTO #31. Rather, because contribution claims are

tethered to the underlying Personal Injury Plaintiffs’ claims, and choice of law determinations for

those claims have yet to occur, it is not possible to resolve conclusively choice of law disputes

today. Nor is it necessary. If SoClean and DWHP’s arguments were accepted, the Philips

Defendants would be required to wait to file the master third-party complaint until the choice of

law issues concerning the underlying claims are resolved. As this Court is aware, those disputes

in connection with the underlying claims will await substantive challenges to each individual

personal injury complaint that is selected to be part of the bellwether process. That would

potentially require that the Philips Defendants wait to file their third-party complaint until the end



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of 2024, which would in turn push back SoClean and DWHP’s discovery, throwing off the existing

discovery schedule.

               The Philips Defendants have already committed to voluntarily dismissing any

contribution claim in the event that a case winds up governed by state law that provides no such

right—a possibility the Philips Defendants have attempted to account for in their proposed master

complaint. (See Philips Resp. at 4.) But, as the Special Master aptly observed, “[t]his is not a

reason to delay the filing of [the Philips] Defendants’ contribution claims through a master

complaint,” given that “PTO 31 expressly contemplates that applicable choice of law rules will be

determined at a later date.” (See R&R at 3.) Thus, all of SoClean and DWHP’s concerns are either

premature, meritless, or accounted for, and Rule 11 is no obstacle to entry of PTO #31.

                                        CONCLUSION

               For the foregoing reasons, the Court should adopt the Special Master’s Report and

Recommendation (ECF No. 2708).




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Dated: April 23, 2024                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify on this 23rd day of April 2024, a true and correct copy of the foregoing

was filed electronically and is available for viewing and downloading from the Court’s ECF

System. Notice of this filing will be sent to all counsel of record by operation of the ECF System.

                                                   /s/ Michael H. Steinberg

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